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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

LADDY CURTIS VALENTINE and                §
RICHARD ELVIN KING, individually and      §
on behalf of those similarly situated,    §
      Plaintiffs,                         §
                                          §
v.                                        §        Civil Action No. 4:20-cv-01115
                                          §
BRYAN COLLIER, in his official capacity,  §
ROBERT HERRERA, in his official capacity, §
and TEXAS DEPARTMENT OF                   §
CRIMINAL JUSTICE,                         §
      Defendants.                         §

DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ APPLICATION FOR A
                 TEMPORARY RESTRAINING ORDER




                           EXHIBIT C
                           ATTACHMENT C
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                           Coronavirus Disease 2019 (COVID-19)

POLICY:

To outline management and control measures for facilities to follow in response to the spread
of COVID-19.

OVERVIEW:

What is Coronavirus disease 2019 (COVID-19)?
 COVID-19 is a respiratory illness that can spread from person to person. The virus that
causes COVID-19 is a novel coronavirus that was first identified during an investigation into
an outbreak in Wuhan, China. The virus is thought to spread mainly between people who
are in close contact with one another (within about 6 feet) through respiratory droplets
produced when an infected person coughs or sneezes. It also may be possible that a person
can get COVID-19 by touching a surface or object that has the virus on it and then touching
their own mouth, nose, or possibly their eyes.

What are the symptoms of COVID-19?
Symptoms commonly associated with COVID-19 include fever, cough, and shortness of
breath. More severe symptoms suggesting the need for a higher level of care may include
difficulty breathing, bluish lips or face, persistent pain or pressure in the chest, and new
confusion or inability to arouse. People 65 years or older, and/or people with medical issues,
like heart disease, diabetes, high blood pressure, cancer, or a weakened immune system, are
at a higher risk for getting very sick from COVID‑19. Complications include pneumonia,
acute respiratory distress syndrome (i.e. ARDS) and even death.

How is COVID-19 transmitted?
The virus is known to spread person to person when there is close contact (approximately 6
feet) through respiratory droplets that are produced when an infected person coughs or
sneezes. It is also believed that a person can become infected with COVID-19 by touching
a contaminated surface or object that has the virus on it and then touching their own nose,
eyes or mouth.

What is the difference between confirmed COVID-19 case vs. suspected COVID-19
case?
A confirmed case has received a positive result from a COVID-19 laboratory test, with or
without symptoms. A suspected case shows symptoms of COVID-19 but either has not been
tested or is awaiting test results. If test results are positive, a suspected case becomes a
confirmed case.

DEFINITIONS:

Close Contact of COVID-19 Case – An individual is considered a close contact if they (1)
have been within 6 feet of a COVID-19 case for a prolonged period of time, or (2) have had
direct contact with respiratory droplets from a COVID-19 case such as a cough or sneeze.

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Cohorting – Cohorting refers to the practice of housing multiple COVID-19 cases together
as a group under medical isolation or housing close contacts of a particular case together as
a group under medical restriction. Cohorting is used when there is inadequate space to place
individuals in single cells for medical restriction or medical isolation.

Medical Isolation – Isolation is for persons who are sick and contagious. Isolation is used
to separate ill persons who have a communicable disease from those who are healthy.
Isolation restricts the movement of ill persons to help stop the spread of disease.

Medical Restriction – Medical restriction is used to separate and restrict the movement of
well persons who may have been exposed to a communicable disease to see if they become
ill. These people may have been exposed to a disease and do not know it, or they may have
the disease but do not show symptoms. Medical restriction can help limit the spread of
disease.

An N95 respirator is a respiratory protective device designed to achieve a very close facial
fit and very efficient filtration of airborne particles. The 'N95' designation means that when
subjected to careful testing, the respirator blocks at least 95 percent of very small (0.3 micron)
test particles.

Social Distancing – Social distancing is the practice of increasing the space between
individuals (ideally to maintain at least 6 feet between all individuals, even those who are
asymptomatic) and decreasing the frequency of contact to reduce the risk of spreading a
disease. Social distancing strategies can be applied on an individual level (e.g., avoiding
physical contact and maintaining 6 feet), a group level (e.g., canceling group activities), and
an operational level (e.g., rearranging chairs in clinics to increase distance between them).

PROCEDURES:

 I.      INFECTION CONTROL

         A.      In preparation, staff should ensure there is sufficient stock on hand of hygiene
                 supplies, cleaning supplies, PPE, medication, and medical supplies. This
                 includes, but is not limited to, liquid soap, hand sanitizer, viral test kits and nasal
                 swabs, facemasks, N95 respirators, eye protection (goggles or face shields),
                 gloves, and gowns.

         B.      During the COVID-19 outbreak, all units should:
                 1.     Medical staff should educate offenders and staff on how COVID-19 is
                        transmitted, signs and symptoms of COVID-19, treatment, and
                        prevention of transmission (Attachment A).
                 2.     Remind staff and offenders on the methods used to prevent the spread of
                        any respiratory virus.

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                 a.     Encourage handwashing with soap and water for at least 20
                        seconds (Attachment B). If soap and water is unavailable, hand
                        sanitizer (at least 60% alcohol) may be used to cleanse hands.
                 b.     Encourage cough etiquette. Cover coughs or sneezes
                        with a tissue, then throw the tissue in the trash.
                        Otherwise, cough inside of your elbow (Attachment C).
                 c.     Avoid touching eyes, nose, and mouth with unwashed
                        hands.
                 d.     Avoid close contact (< 6 feet) with people who are sick or
                        suspected of being sick.
                 e.     Stop handshakes.
          3.     Practice social distancing and avoid gatherings and meetings.
          4.     Meet by teleconference or videoconference when feasible.
          5.     Disinfect common areas and surfaces that are often touched with a 10%
                 bleach solution. The bleach solution should be sprayed on and allowed
                 to air dry for at least 10 minutes. Cleaning recommendations can be
                 found in Infection Control Policy B-14.26 (Attachment D,
                 Housekeeping/Cleaning). The formula for the 10% bleach solution is:
                 a.     8 oz. of powdered bleach to 1 gallon of water
                 b.     12.8 oz. of liquid bleach to 1 gallon of water
          6.      Cancel all group healthcare activities (e.g., group therapy), and
                 coordinate with unit warden and recommend temporarily canceling other
                 group activities such as church and school.
          7.     Post visual alerts (signs and posters) at entrances, in the medical
                 department, and other strategic places providing instruction on hand
                 hygiene, cough etiquette, and symptoms of COVID-19.
          8.     Post a sign at the entrance, so that high risk visitors can elect not to enter
                 the unit if COVID-19 occurs (Attachment D).

    C.    Evaluate the need to expand the number of medications allowed to be distributed
          keep on person.

    D.    Consider suspending co-pays for medical evaluations so offenders will not be
          hesitant to report symptoms of COVID-19 or seek medical care due to co-pay
          requirements.

    E.    Evaluate the need to minimize offender movement:
          1.     Offenders stay in housing areas.
          2.     Offenders may use dayrooms in housing areas.
          3.     Offenders may go to the dining hall, work, commissary, recreation, etc.,
                 if they do not mingle with offenders from other housing areas during the
                 process. They must be escorted when leaving the housing area.
          4.     Contact visitation is suspended.
          5.     Minimize transfer of offenders between units.

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          6.     Advise unit food captains to eliminate self-serve foods in chow halls.

    F.    Influenza vaccination: During influenza season, vaccination against influenza is
          an important measure to prevent an illness that presents similarly to COVID-19.
          If there is influenza vaccine available; offer it to unvaccinated staff and
          offenders.

    G.    Evaluate the need to limit entrance to essential staff only. If possible, staff
          should be assigned to a single facility, with limited assignments to other
          facilities only when necessary to provide essential safety, security and services.

    H.    Incorporate questions about new onset of COVID-19 symptoms into assessments
          of all patients seen by medical staff.

    I.    Offenders complaining of symptoms consistent with COVID-19 should be
          triaged as soon as possible. (Attachment E)
          1.      Ensure facemasks are available at triage for patients presenting with
                  COVID-19 symptoms.
          2.      If possible, symptomatic patients should be kept > 6 feet apart from
                  asymptomatic patients.

    J.    Offenders with suspected or confirmed COVID-19 as determined by medical
          should be placed in medical isolation.

    K.    Thoroughly clean and disinfect all areas where suspected or confirmed COVID-
          19 cases spent time. Staff and offenders performing cleaning should wear
          gloves and a gown.

    L.    Medical isolation
          1.    Isolation is for offenders with suspected or confirmed COVID-19
                and are considered infectious.
          2.    Isolated offenders must be under droplet and contact isolation
                precautions.
          3.    Offenders should be single-celled (isolated) or may be cohorted
                (i.e., co- housed) with other offenders with COVID-19 if they cannot
                be single celled. If possible, suspected and confirmed COVID-19
                cases should be kept separate.
          4.    If cohorted, each offender’s isolation period is independent, so an
                offender may be released from the isolation area even if other
                offenders in the area are still under isolation.
          5.    Use of PPE
                 a.     Offenders under isolation must wear a surgical mask if they
                        are required to leave the isolation area.
                 b.     Staff (correctional and medical) entering an isolation housing

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                        area must wear a facemask and gloves. Gowns and/or face
                        protection should also be worn if they anticipate direct or
                        very close contact with ill offenders. Personal protective
                        equipment must be removed when leaving the area and hands
                        washed after removal.
          6.     Isolated offenders must be observed by medical personnel as often
                 as clinically indicated to detect worsening illness or complications,
                 but in any case, must be observed at least twice per day.
                 Monitoring consists of a temperature check and verbal questioning
                 of symptoms (e.g., cough and shortness of breath).
          7.     Offenders should be isolated for 7 days after symptom onset and
                 72 hours after resolution of fever without the use of fever-reducing
                 medications and improvement in respiratory symptoms (e.g.
                 cough, shortness of breath).
          8.     Offenders in isolation must be fed with disposable trays and
                 utensils. No items will be returned to the kitchen for cleaning or re-
                 use.
          9.     Laundry items from isolation areas must be handled as
                 contaminated laundry.
          10.    Offenders should NOT be transported on a chain bus or MPV except
                 for medical emergencies.

    M.    All newly arriving offenders including extraditions and those returning from
          bench warrant or reprieve into TDCJ, including private facilities or intermediate
          sanction facilities, must be screened by medical staff for symptoms consistent
          with COVID-19 infection (Attachment F).
          1.     Offenders who are medically cleared upon provider evaluation will be
                 released to continue the intake process.
          2.     Offenders who have been exposed to COVID-19 but who are not yet ill
                 (i.e., close contacts), will be placed under medical restriction for a
                 minimum of 14 days.
          3.     Offenders with positive screening findings will be referred to a provider
                 for further evaluation.
          4.     Offenders with confirmed or suspected COVID-19 shall immediately
                 have a face mask placed. The offender should be instructed to wash his
                 or her hands. The offender will be isolated under droplet and contact
                 isolation precautions for 7 days after symptom onset and 72 hours after
                 resolution of fever without the use of fever-reducing medications and
                 improvement in respiratory symptoms (e.g. cough, shortness of breath).
          5.     Medical staff will notify the TDCJ intake security supervisor of all
                 offenders placed under medical restriction or isolation, who will then
                 notify the facility Warden and Classification Department.
          6.     TDCJ leadership, in coordination with the medical department, will
                 identify an appropriate housing area to assign/cohort all offenders placed

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                          on medical restriction and/or isolation.

         N.      Assess risk level of exposure during contact investigations to determine if
                 asymptomatic close contacts need to be placed under medical restriction. All
                 exposures apply to the 14 days prior to assessment.


Risk Level            Exposure                         Management if             Management of Symptomatic
                                                   Asymptomatic Patients                     Patients
High Risk     Close Contact that                 Place in medical restriction    Immediately place in medical
              has been within 6                   for 14 days from the date of     isolation
              feet of a case for a                exposure                        Must remain in isolation for 7
              prolonged period of                Monitor for development of       days after symptom onset and
              time, or (2) has had                symptoms twice daily             72 hours after resolution of
              direct contact with                 including temperature check      fever without the use of fever-
              respiratory droplets               Patient must wear a surgical     reducing medications and
                                                  facemask during                  improvement in respiratory
              E.g., living with                   transfer/movement outside        symptoms (e.g. cough,
              someone, intimate                   housing area                     shortness of breath)
              partner, traveling on              Do NOT transport on a           Monitor at least twice a day to
              same bus, or                        chain bus or MPV except for      detect worsening illness
              working in                          medical emergencies              including temperature and
              healthcare setting                                                   symptom checks
              (e.g., clinic or                                                    Patient must wear a surgical
              infirmary)                                                           facemask during
                                                                                   transfer/movement outside
                                                                                   housing area
                                                                                  Do NOT transport on a chain
                                                                                   bus or MPV except for
                                                                                   medical emergencies
Medium        Travel from an area of          Screen prior to entering the       Medical staff evaluation if
Risk          sustained transmission           facility                            becomes symptomatic
              without any known               Encourage self-monitoring          See management for high risk
              exposure to COVID-19             & social distancing                 if suspected or confirmed
              case                            If exposed to COVID-19 but          COVID-19 per medical
                                               is not yet ill, place under         evaluation
                                               medical restriction
                                              If the facility has the
                                               capacity & resources,
                                               consider placing all new
                                               intakes under medical
                                               restriction for 14 days before
                                               entering the facility’s
                                               general population
Low Risk      Being in the same indoor       None required.                       Medical staff evaluation if
              environment (e.g.,                                                   becomes symptomatic
              classroom, waiting room)       Provide education and                See management for high risk
              but not meeting the            encourage self-monitoring &           if suspected or confirmed
              definition of close contact    social distancing                     COVID-19 per medical
                                                                                   evaluation


                                                                          VALENTINE - LINTHICUM 006
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 No               Interaction that does not        None required.                 Medical staff evaluation if
 Identifiable     meet exposure of high,                                           becomes symptomatic
 Risk             medium, or low risk such         Provide education and          See management for high risk
                  as walking by a person or        encourage self-monitoring &     if suspected or confirmed
                  being briefly in the same        social distancing               COVID-19 per medical
                  room                                                             evaluation
1. Adapted from CDC guidance for persons with COVID-19 exposure


           O.        Medical restriction
                     1.    All staff working in medically restricted areas and offenders who are
                           placed in medical restriction, will be educated about early recognition of
                           warning signs and rapid triage of symptomatic patients.
                     2.    Contacts of suspected or confirmed cases should be kept under medical
                           restriction (i.e., quarantine) as a cohort until 14 days after the last
                           exposure to a case for everybody in the cohort. If this is not possible,
                           contacts should have their temperature taken and be questioned about
                           symptoms daily. Every effort should be taken to use medical restriction.
                     3.    If a group is cohorted due to a suspected case who is subsequently tested
                           for COVID-19 and receives a negative result, the group may be released
                           from medical restriction if they weren’t housed with another cohorted
                           group.
                     4.    Use of PPE
                           a.      Staff (correctional and medical) entering medically restricted
                                   housing areas must wear a surgical facemask and gloves. Gowns
                                   and/or face protection should also be worn if they anticipate direct
                                   or very close contact with ill offenders. Personal protective
                                   equipment must be removed when leaving the area and hands
                                   washed after removal.
                           b.      Offenders on medical restriction do not have to wear a mask unless
                                   they must leave their housing area for some reason. They should be
                                   questioned about symptoms of COVID-19 before being taken from
                                   the housing area and be kept at least 6 feet from offenders from
                                   other housing areas as much as possible.
                     5.    Medically restricted offenders may attend outdoor recreation and shower
                           as a group. They may attend chow hall as a group if the facility
                           determines it is necessary, but high hand contact areas, benches and
                           tables in the chow hall should be disinfected afterward.
                     6.    Medically restricted offenders may work only if their job is essential and
                           they will not mingle with non-medically restricted offenders while
                           working or getting to or from the job location and must be screened for
                           symptoms of COVID-19 at each turnout.
                     7.    Medically restricted offenders should not be transferred from the facility
                           during the 14-day restriction period, unless released from custody or a
                           transfer is necessary for health care (e.g., medical or behavioral health),
                           infection control, lack of quarantine space, or extenuating security

                                                                             VALENTINE - LINTHICUM 007
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                 concerns.
          8.     Offenders under medical restriction must be observed at least twice per
                 day for the presence of fever or symptoms of COVID-19 (cough or
                 shortness of breath).
                 a.    If an offender becomes ill, they must be evaluated by medical staff
                       as soon as practical.
                 b.    If the offender is coughing, they should be made to wear a surgical
                       mask and be kept at least 6 feet from other offenders and staff until
                       they are evaluated by medical.
                 c.    If medical determines the ill offender has COVID-19, the offender
                       must be placed in isolation and the other offenders must remain
                       under medical restriction for another 14 days.

    P.    Units with offenders with COVID-19 should
          1.     Institute droplet and contact precautions for offenders with COVID-19.
          2.     Ensure that sick offenders do not expose other offenders without
                 COVID-19 while in waiting rooms (consider setting up a separate
                 waiting area for offenders with COVID-19). At a minimum, ensure that
                 offenders with COVID-19 wear surgical masks or sit at least 6 feet
                 from other offenders while waiting to be seen by medical.
          3.     Implement daily active surveillance for symptoms of COVID-19
                 among all offenders and health care personnel until at least 2 weeks
                 after the last confirmed case occurred.

    Q.    Ill staff
          1.        Employees who are sick should stay home and should not report to work.
          2.        If employees become sick at work, they should promptly report this to
                     their supervisor and go home.
          3.        In general, the timetable for returning to work is 7 days after symptom
                     onset and 72 hours after resolution of fever without the use of fever-
                     reducing medications and improvement in respiratory symptoms (e.g.
                     cough, shortness of breath). Staff should refer to their respective
                     employer’s specific procedure for obtaining clearance to return to work.

    R.    Security staff will screen all individuals entering the unit.
          1.     Before individuals enter a TDCJ location, they will have their
                 temperature taken and if a fever is present, the screening form will be
                 completed (Attachment G).
          2.     If the individual answers yes to fever question, they will be sent home
                 and will be required to submit a physician’s note stating they are clear of
                 any symptoms of COVID-19 before being allowed to return to work.
          3.     If no fever is present but answered yes to cough or shortness of breath,
                 the individual should be aware of potentially developing a fever.
          4.     If the individual answers yes to being in contact with anyone who tested

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                       positive for COVID-19, they will be sent home and not allowed to return
                       to work without providing a physician’s note stating they are clear of any
                       COVID-19 symptoms. Notification must also be made to the TDCJ
                       Office of Emergency Management and the TDCJ Deputy Director of
                       Health Services.

          S.    Transportation
                1.    In general, offender transportation must be curtailed, except for
                      movement that is absolutely required, such as for release, bench warrant,
                      medical emergencies, etc.
                2.    When offenders are transported during these conditions, they must be
                      seated at least 3 feet apart.
                3.    An offender who is coughing or who is in isolation for COVID-19 must
                      wear a surgical mask during movement from isolation to transport and
                      from the transport to his destination at the receiving facility. These
                      offenders must be transported by ambulance or van.
                4.    Multiple offenders who are under COVID-19 isolation may be
                      transported in the same vehicle, but no non-isolated offenders (including
                      offenders under medical restriction) may travel with them. Staff must
                      wear facemasks during transport, unless the offender area has separate
                      ventilation from the staff area.
                5.    After all offenders have disembarked from the transport vehicle, the seats
                      and hand contact areas such as handrails must be cleaned and disinfected.

II.       USE OF PERSONAL PROTECTIVE EQUIPMENT (PPE)

          A.    An alcohol-based waterless antiseptic hand rub should be carried by staff and
                used whenever there is concern that hands have become contaminated. The
                waterless hand rub may be used when handwashing is unavailable.

          B.    Offenders who are required to perform duties for which staff would wear PPE
                should be provided the same PPE for the job, except they must not have access
                to the waterless hand rub but must wash hands with soap and water instead.

          C.    Goggles or protective face shields should be worn when there is a likelihood of
                respiratory droplet spray hitting the eyes. Since these items are re-usable, they
                should be cleaned and disinfected between uses. Hands should be washed before
                donning or doffing goggles, to prevent inadvertent contamination of the eyes.

          D.    Medical and Security Staff should wear surgical masks if their responsibilities
                require them to remain less than 6 feet from a symptomatic individual or patient
                suspected with suspected COVID-19.

          E.    Mask, gloves, gowns, and eye protection (face shield or goggles) should be worn

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                 when examining or providing direct care to offenders with suspected or
                 confirmed COVID-19.

          F.     Unless contact offender searches on general population would clearly involve
                 contact with body fluids, gloves are unnecessary and handwashing between each
                 search is adequate.

          G.     Gloves may be worn for contact offender searches of medically restricted
                 offenders. Gloves must be worn and changed between each search for contact
                 searches on isolated offenders.

          H.     Security and Medical Staff should be educated on the appropriate sequence of
                 putting on PPE (Attachment J).

               PPE to Use While Caring for Patients with Suspected or Confirmed COVID-19
Setting               Rooming        Staff PPE                                 Symptomatic Offender
                      Procedure in                                             Requirement
                      Medical
Clinic                Normal              Gloves                              Surgical facemask
                                          Gown
                                          Eye protection (face shield or
                                             goggles)
                                          Surgical facemask or fit-tested
                                             N-95 respirator (only if surgical
                                             facemask is unavailable)
Infirmary             Normal              Gloves                              Surgical facemask during
                                          Gown                                transfer
                                          Eye protection (face shield or
                                             goggles)
                                          Surgical facemask or fit-tested
                                             N-95 respirator (only if surgical
                                             facemask is unavailable)
Medical Restriction Normal                Gloves                              Surgical facemask outside of
Area                                      Surgical facemask or fit-tested     medical restriction area
                                             N-95 respirator (only if surgical
                                             facemask is unavailable)
                                          Gowns and/or eye protection
                                             (face shield or goggles) should
                                             be worn only if anticipate direct
                                             or very close contact with ill
                                             offenders (e.g., temperature
                                             check)
Medical Isolation     Normal              Gloves                              Surgical facemask outside of
Area                                      Surgical facemask or fit-tested     medical isolation area
                                             N-95 respirator (only if surgical
                                             facemask is unavailable)
                                          Gowns and/or eye protection
                                             (face shield or goggles) should
                                             be worn only if anticipate direct

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                 PPE to Use While Caring for Patients with Suspected or Confirmed COVID-19
 Setting                Rooming        Staff PPE                                  Symptomatic Offender
                        Procedure in                                              Requirement
                        Medical
                                                or very close contact with ill
                                                offenders
 Handling laundry or Not                    Gloves                                     Not applicable
 cleaning area of       applicable          Gown
 COVID-19 case or
 individuals in
 medical isolation or
 restriction
 Transport Van          Normal              Gloves                                     Surgical facemask
                                            Surgical facemask or fit-tested               during transfer
                                                N-95 respirator (only if surgical       Not transported on
                                                facemask is unavailable)                   a chain bus or MPV
                                            Gowns and/or eye protection                   except for medical
                                                (face shield or goggles) should            emergencies
                                                be worn only if anticipate direct
                                                or very close contact with ill
                                                offenders
 Procedural Setting     Negative            Gloves                               Surgical facemask during
 (e.g., nebulizer       Pressure            Gown                                 transfer
 high-flow oxygen,      Room                Eye protection (face shield or
 ventilation,                                   goggles)
 intubation)*                               Fit-tested N-95 respirator
* when performing procedure that may generate respiratory aerosols

 III.      DIAGNOSTIC TESTING

           A.      Diagnostic testing should be prioritized based on clinical features and
                   epidemiologic risk.

           B.      Health care providers must contact their university designee if they feel
                   testing should be considered before an order is placed in the electronic
                   medical record. The University Designee will determine if patients meet
                   the criteria for testing.


           Clinical Features                                           &   Epidemiologic Risk
           Fever1 or signs/symptoms of lower respiratory illness       AND Any person, including health care
           (e.g., cough or shortness of breath)                            workers, who has had close contact
                                                                           with a laboratory-confirmed
                                                                           COVID-19 patient within 14 days
                                                                           of symptom onset
           Fever1 and signs/symptoms of lower respiratory illness      AND A history of travel from affected
           (e.g., cough or shortness of breath)                            geographic areas within 14 days of
                                                                           symptom onset
                                                                           OR
                                                                      VALENTINE - LINTHICUM 011
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        CMHC                                       Effective Date: 4/2/2020          NUMBER: B-14.52
 INFECTION CONTROL                                 Replaces: 3/27/20
      MANUAL                                                                         Page 12 of 31
                                                   Formulated: 3/20/2020
                                    Coronavirus Disease 2019 (COVID-19)

                                                                                  An individual(s) with risk factors
                                                                                  that put them at higher risk of poor
                                                                                  outcomes
          Fever1 and signs/symptoms of lower respiratory illness              AND No source of exposure has been
          (e.g., cough or shortness of breath) requiring                          identified
          hospitalization
         1. Fever may be subjective or confirmed
         2. Adapted Texas DSHS guide to testing


          C.          Instructions for ordering and specimen collection must be followed
                      (Attachment H).

IV.      REPORTING

          A.         Daily reporting of COVID-19 to the TDCJ Office of Public Health by email or
                     fax (936-437-3572) is required.

          B.         Each unit must complete a report (Attachment I).
                     1.     The daily COVID-19 log should be sent by 9:00 AM. The list is only for
                            the 24-hour period ending at 6AM that morning. Units may submit logs
                            over the weekend or may submit three logs on Monday morning.
                     2.     Reporting should continue until 2 weeks has lapsed since the last case.
                     3.     The subject line of the email should include, “[Unit] Name, COVID-19
                            Log, and the Date Sent (MM /DD /YYYY).”

V.       CLINICAL MANAGEMENT

          A.         Record proper diagnosis in the electronic health record for suspected COVID-
                     19.

          B.         There is no approved vaccine for COVID-19.

          C.         There are currently no antiviral drugs licensed by the FDA to treat COVID-19.

          D.         There is currently no FDA-approved post-exposure prophylaxis for people who
                     may have been exposed to COVID-19.

          E.         Clinicians are strongly encouraged to test for other causes of respiratory illness
                     (e.g., influenza). Diagnostic testing should include an influenza test.

          F.         Most cases of COVID-19 only require usual supportive care with fluids,
                     analgesics and rest. Acetaminophen (i.e. Tylenol) is the preferred antipyretic for
                     treating fever in non-allergic COVID-19 patients considering its efficacy and
                     safety. Ibuprofen may be considered. However, remember its potential for renal
                     (i.e. kidney) adverse effects. Recent reports suggest Ibuprofen may worsen the

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            CMHC                     Effective Date: 4/2/2020         NUMBER: B-14.52
     INFECTION CONTROL               Replaces: 3/27/20
          MANUAL                                                      Page 13 of 31
                                     Formulated: 3/20/2020
                          Coronavirus Disease 2019 (COVID-19)

                course of COVID-19. However, this is still theoretical and under investigation.
                Corticosteroids are not recommended unless they are indicated for another
                reason (e.g., COPD exacerbation).

         G.     Signs suggesting the need for a higher level of care include, but are not limited
                to, difficulty breathing, bluish lips or face, persistent pair or pressure in the
                chest, and new confusion or inability to arouse.

         H.     Clinical management for more severe cases is focused on supportive care of
                complications, including advanced organ support for respiratory failure.

         I.     Offenders who are suspected of having COVID-19 must be placed in medical
                isolation. Laboratory proof is not required for isolation. The diagnosis of
                COVID-19 should be made on a clinical basis and testing performed only as
                outlined above.

         J.     Adherence to strict infection control measures must always be observed. Cases
                in an inpatient setting must be under droplet and contact isolation (see Infection
                Control Policy B-14.21).

REFERENCES

1.      Centers for Disease Control and Prevention. Interim Infection Prevention and Control
        Recommendations for Patients with Suspected or Confirmed Coronavirus Disease
        2019 (COVID-19) in Healthcare Settings. Available at
        https://www.cdc.gov/coronavirus/2019-ncov/infection-control/control-
        recommendations.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoro
        navirus%2F2019-ncov%2Fhcp%2Finfection-control.html
2.      Centers for Disease Control and Prevention. Interim Clinical Guidance for
        Management of Patients with Confirmed Coronavirus Disease (COVID-19).
        Available at https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-
        management-patients.html
3.      Texas Department of State Health Services. Interim Criteria to Guide Testing of
        Persons Under Investigation (PUIs) for Coronavirus Disease 2019 (COVID-19).
        Available at https://www.dshs.state.tx.us/coronavirus/healthprof.aspx
4.      Centers for Disease Control and Prevention. Interim Guidance on Management of
        Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities.
        Available at https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
        detention/guidance-correctional-detention.html
5.      Centers for Disease Control and Prevention. Interim US Guidance for Risk
        Assessment and Public Health Management of Persons with Potential Coronavirus
        Disease 2019 (COVID-19) Exposures: Geographic Risk and Contacts of Laboratory-
        confirmed Cases. Available at https://www.cdc.gov/coronavirus/2019-ncov/php/risk-
        assessment.html

                                                                VALENTINE - LINTHICUM 013
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Attachment A


COVI D                           What you need to know about
 ~~tE~;~vrnus 19                 coronavirus disease 2019 (COVID-JM
  What is coronavirus disease 2019 (COVI0-19)?                      What are severe complications from this virus?
  Coronavirus disease 2019 (COVID-19) is a respiratory illness      Some patients have pneumonia in both lungs, multi-organ
  that can spre3d from person to person. lbe virus that causes      failure and in some cases death.
  C0~19 is a novel coronavirus that was first identified during
  an investig,ation into an outbre-.ak in Wuhan, China.             How can Ihelp protect myselfl
                                                                    Peopla an help protect themselves from r~intory illness with
  Can people in the U.S. get COVI0-19?                              everyday preventive actions.
  Yes. COVJD.-19 is spreading from person to person in parts of     • Avoid close coot3ct with people who are sick.
  lhe United St.ates. Risk of infection with COvtD-19 is higher     • Avoid touching your eyes., nose, and mouth with
  for people who are dose cont.acts of someone known to have          unwashed bands.
  COVID-19, for example healthcare workers, or household            • Wash your hands often with soap and water for a.t least 20
  members. Other people at higher risk for infectiOD.are those        seconds. Use an .lcobo1-based band sanitizer that contains at
  who live in or have recently been in an m!a with ongoing spread     least 60% alcohol if soap and water a.re not available.
  of COVJD.-19. Learn more a.bout places with ongoing spread at
  b ttps://www.alc.gov/coronavirus/201!).ncov/ abou t/              If you are side, to keep from spreading respiratory illness
  tr.msmissioo..htm1tggoggphic
                                                                    to others, you should
  Have there been cases of COVI0-19 in the U.S.?                    • Stay home when you are sick.
                                                                    • Cover your cough or sneeze with a tissue, then throw the
  Yes. The fu:st case of COVJD.-19 in the United States was
                                                                      tissue in the tT.lSh.
  reported on January 21. 2020. The current count of cases of       , Cle.in and di-ect frequently touch,d objects
  C0~19in the United States is ava.ilab1e on CDC's webpage at
                                                                      and surfaces.
  btq,s·l/www cdc s2vlcmnmuims-'2019:ocm•/ca:scs·iD-J1S btrn1
  How does COVID-19 spread?                                         What should Ido if Irecentlytraveledfrornanarea with
  Toe virw ~ causes COVlD-19 probably emerged from an
                                                                    ongoing spread of COYI0-19?
  animal source, but is now spreading from person to person.        lf you have traveled from an affected area, there may be
  Toe virus is thought to spread mainly between peop1e who          restrictions on your movements for up to 2 weeks. lf you
  are in dose contact with one anodler (within about 6 feet)        develop symptoms during that period {fever, cough, trouble
  tbroc,gb respiratory droplets produced when an infected           breathing), seek medical advice. Call the office of your health
  person c~hsor sneezes. It also may be possible that a pe-rson     urc provider before youi;o, .lnd tdJ them :about your-tr~vd .UW.
  can get COVID-.19 by touching a surface or object that has        your symptoms. they will give you instructions on how to get
  the virus on it and then touching their-own mouth. nose, or       ca.re without exposing other peopJe to your illness. While sick,
  possibly their eyes, but this is not thought to be the main       avoid conbct with people, don' t gp out md delayany travel to
  way the virus spre-ads. Learn what is known about the spread      reduce the possibility of ~reading illness to others.
  of newly emerged coronaviruses at https://www.cdL.gov/
  coronavirus/201~ ncov/about/transnrlssion.html.
                                                                    Is there a vaccine?
  What are the symptoms of COVID-19?                                There is currently no vacdne to protect against COVJD.-19. The
                                                                    best way to prevent infection is to take everyday preventive
  Patients with COVJD.19 have bad mild to severe respiratory        actions., like avoiding dose contact with people who are skit: and
  illness with symptoms of                                          washing your hands often.
  • fevei-
  • cough                                                           Is there a treatment!
  • shortness ofbrea.tb
                                                                    There is no specific antiviral treabnent for COVJD-19.
                                                                    Pl:ople with COVlD-19 can seek medical care to help
                                                                    relieve symptoms.




                                                                      Formore information: www.cdc.gov/COVID19




                                                                                    VALENTINE - LINTHICUM 014
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Attachment B




    When?
     • Alter using the bathroom
     • Before, during, and after preparing food
     • Before eating food
     • Before and after caring for someone at home
       who Is sick with vomiting or diarrhea
     • Alter changing diape,s or cleaning up a child
       who has used the toilet
     • Alter blowing your nose, coughing, or sneezing
     • Alter touching an animal, animal feed, or
       animal waste
     • Alter handling pet food or pet treats
     • Alter touching garbage


    How?




    Wet your hands
    with clean,
    running water
                         Lather your
                         hands by rubbing
                         them togethE!f
                                                   ~
                                                   Scrub your
                                                   hands for at least
                                                   20seconds.
                                                                         Rinse hands
                                                                         wen undE!f
                                                                         clean, running
                                                                                              Dry hands using
                                                                                              a clean towel or
                                                                                              air dry them.
    (warm or cold),      with the soap.            Need a timer?         water.
    turn off the tap,    Be sure to lather         Hum the "Happy
    and apply soap.      thellacks of your         Birthday" song
                         hands, between            from beginning
                         your fingers, and         to end twice.                 Keeping hands clean
                         under your nails.
                                                                                  is one of the most
                                                                               important things we can
                                                                               do to stop the spread of
                                                                               germs and stay healthy.




      na--'-~ttfax:..n.uo1sai:attw~c...,H--.comPQ9"1•-»~ttf•~~lhll
      coc RuUle:n, GOJO. ..rSUlploa.K-l&COCdolle.MI ~ , : ~ ~ ~ o r oomp.-1a




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Attachment C




                                              VALENTINE - LINTHICUM 016
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Attachment D


                                             Visitors



             WARNING
We are currently having cases of COVID-19 on this facility. This virus can cause severe disease in older
adults 65 years and older and people with medical issues such as heart disease, diabetes, high blood
pressure, cancer or weakened immune systems. If you are a member of one of these high-risk groups,
you may not want to enter the unit at this time. If you do choose to enter the unit, you should observe the
following precautions:

       Try to stay 6 feet away from other people as much as possible.

       Avoid shaking hands, hugging or touching surfaces that get a lot of hand contact.

       Wash your hands often

       Avoid touching your eyes, nose or mouth without washing your hands before and afterward.




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      Attachment E
                                                     Medical Triage




    [_ _]-.
          Patient is screened for
         symptoms of COVID-19
                                                             Patient
                                                             reports
                                                           Cough, fever
                                                            or SOB?
                                                                                   No
                                                                                                 Follow usual triage
                                                                                                     procedures




                                                     Yes


                                    1. Put surgical facemask on patient
                                    2. Seat 3-6 feet from others
                                    3. Nursing wears PPE to assess patient (e.g., facemask,
                                       gown, gloves, and eye protection)
                                    4. Nursing triages patient ASAP for fever (>100.4◦F),
                                       cough, and shortness of breath




1. Put patient in private room
2. Provider evaluate patient as soon as
                                                                      l
   possible                                        Yes            Symptoms              No
3. Staff wear PPE (e.g., facemask, gown,                          positive for                          Provide usual
   gloves, & eye protection)                                       COVID-
                                                                     19?
                                                                                                            care
4. If provider suspects COVID-19, contact
   University Designee for approval to test
5. Order and swab for influenza. Also order
   COVID-19, if approval to test is obtained.
6. Place in medical isolation pending lab
   results




                     Influenza          Yes
                        test                           Provide usual
                     positive?                       care for influenza



               No                                     Manage as clinically indicated and provide supportive care. More
                                                       severe symptoms suggesting the need for a higher level of care
                                                       may include difficulty breathing, bluish lips or face, persistent pain
                                         Yes           or pressure in the chest, and new confusion or inability to arouse.
                    COVID-19                          Continue medical isolation for 7 days after symptom onset and 72
                      test
                    positive?
                                                       hours after resolution of fever without the use of fever-reducing
                                                       medications and improvement in respiratory symptoms
                                                      Monitor in medical isolation at least twice a day including
                                                       temperature and worsening respiratory symptoms
              No


            Provide usual care based on
                   final diagnosis
                                                                                 VALENTINE - LINTHICUM 018
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Attachment F
                         CORRECTIONAL MANAGED CARE
                        COVID-19 Health Screening Intake Form

Date: _______________________

Patient Name: ______________________________________________

DOB: ______________________________________________________

Facility: ___________________________________________________


     1. Temperature:           Above 100.4F?      Yes    No


     2. Cough?          Yes      No
                If YES, date of onset:


     3. Shortness of breath?      Yes     No
                If YES, date of onset:


     4. Had contact with anyone with fever, cough or shortness of breath in the last 14
        days?    Yes      No




  If YES to any question, place a surgical mask on the patient and separate from the rest
  of the intake group for additional screening and orders.




Nurse’s Signature                         Date




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Attachment G                    Texas Department of Criminal Justice
                                           COVID-19 Health Screening Form

Before any individual enters a TDCJ location, they will have their temperature taken and if a fever is present, the screening
form must be completed. This health screening form is an important first step to assist staff in maintaining the safety and
health of TDCJ employees and offenders.


Clearly PRINT information below:

 Name:                                                       Birthdate (mm / dd):


Has the individual:
                                                                                       Date Range

 Traveled internationally in the         Yes       No       If yes when?
 last 30 days?
 *Had contact with anyone who            Yes       No       If yes when?
 tested positive for COVID-19 in
 the last 14 days?


Does the individual have:
                                                                                          Result

 Fever above 100.4F?                     Yes       No       If yes, temperature?
 Cough?                                  Yes       No
 Shortness of breath?                    Yes       No

If the individual answers yes to fever question, they will be sent home and will be required to submit a physician’s note
stating they are clear of any symptoms of COVID-19 before being allowed to return to work. If no fever is present but
answered yes to cough or shortness of breath, the individual should be aware of potentially developing a fever.

*If the individual answers yes to being in contact with anyone who tested positive for COVID-19, they will be sent home
and not allowed to return to work without providing a physician’s note stating they are clear of any COVID-19 symptoms.
Also, notification will need to be made to the Melissa Kimbrough, Office of Emergency Management and Chris Black
Edwards, Deputy Director Health Services.

Staff completing COVID-19 Health Screening Form:

 Name:                                                       Date: ______________________________


CONTACT INFORMATION:
Melissa Kimbrough, Emergency Management Coordinator             Chris Black-Edwards, Deputy Director Health Services
936-437-6038 (Office)                                           936-437-4001 (Office)
936-581-9848 (State Cell)                                       chris.black-edwards@tdcj.texas.gov
melissa.kimbrough@tdcj.texas.gov




                                                                             VALENTINE - LINTHICUM 020
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Attachment H

                                        COVID-19 Testing for Units

Note: Requires pre-authorization from the University Designee prior to placing the order.
        Providers in the Texas Tech Sector should contact the Northern Region Medical Director for
         approval.
        Providers in the UTMB Northern Geographical Service Area (GSA) should contact the Chief
         Medical Officer for approval.
        Providers in the UTMB Southern GSA should contact the Region 4 Medical Director for
         approval.

   1. Units Designated for Testing by Galveston Laboratory:

       Test should be sent to the Galveston laboratory for processing. The test is available in the EMR under
       CORONAVIRUS COVID-19 TESTING (COVID19). The viral culture collection kit is available
       from the CMC Medical Warehouse (stock # 495-38-15427-6).

         Test name and code: COVID-19 (Test code: 8000101424)
                             Note: Order as “Miscellaneous” and add comment: “COVID-19
                             ARUP”

                     Collect: Nasopharyngeal swab. Place in one collection tube (redtop viral
                              transport tube).
                    Specimen Place in viral transport media (ARUP Supply #12884). Available
                 Preparation: through Ms. Judy Mitchell at (409) 772-9247. Place each specimen
                              in an individually sealed bag.

                               Also, acceptable: Media that is equivalent to viral transport media or
                               universal transport media.
           Storage/Transport Acceptable Conditions: Frozen
               Temperature:
                Unacceptable Specimens not in viral transport media.
                 Conditions:
                   Remarks: Specimen source required. Submit only one specimen per patient.
                    Stability: Ambient: Unacceptable; Refrigerated: 4 days; Frozen: 1 month

   2. Units Designated for Testing by Quest Diagnostics:

       Staff must manually order the test. Each unit should have the paper ordering forms. The test should be
       ordered on its own dedicated requisition and not combined with any other test. National test code is
       39433. It is not a STAT test and a STAT pick-up cannot be ordered. Test results are typically available
       3-4 days from the time of specimen pick-up and may be impacted by high demand.

        Test name and code: SARS-CoV-2 RNA, RT PCR
                    Collect: Preferred Specimen(s): One (1) nasopharyngeal swab collected in a
                             multi microbe media (M4), V-C-M medium (green-cap) tube or
                             equivalent (UTM).



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                        Also acceptable: 0.85 mL bronchial lavage/wash, nasopharyngeal
                        aspirate/wash, sputum/tracheal aspirate sample in a plastic sterile leak-
                        proof container
              Specimen Place in multi microbe media (M4), V-C-M medium (green-cap) tube,
           Preparation: or equivalent (UTM).

                          It is acceptable to place both an NP and an OP swab at the time of
                          collection into a shared media transport tube. Do not combine other
                          specimen sources.

                          Also, acceptable: Plastic sterile leak-proof container.
      Storage/Transport   Transport refrigerated (cold packs) to local Quest Diagnostics
          Temperature:    accessioning laboratory.
           Unacceptable   Specimens not in viral transport media. Calcium alginate swab •
            Conditions:   Cotton swabs with wooden shaft • Received refrigerated more than 72
                          hours after collection • ESwab • Swabs in Amies liquid or gel transpo
              Remarks:    Order SARS-CoV-2 RNA, RT PCR separately from other tests - on a
                          separate requisition and place each transport tube with paperwork into
                          its own sealed bag. The SARS-CoV-2 test will be prioritized if
                          submitted on a shared requisition. One specimen transport tube will be
                          tested per order.

                          It is acceptable to place both an NP and an OP swab at the time of
                          collection into a shared media transport tube. Do not combine other
                          specimen sources.
               Stability: Ambient: Unacceptable; Refrigerated for up to 72 hours or Frozen
                          at -70⁰C

3. Texas Tech Units Designated for Testing by LabCorp

   The test is available in the EMR under “2019 Novel Coronavirus (CoVID-19), NAA”. Contact your
   Facility Health Administrator if you are in need of additional culture collection kits.

    Test Name and Code:       COVID-19 – Test Code 139900
    Collect:                  Nasopharyngeal or Oropharyngeal swab, placed and transported in
                              Universal Transport Medium (UTM).
    Specimen Preparation:     Universal Transport Medium (UTM) with included swabs,
                              specimen label and biohazard bag are needed. Follow instructions
                              published by LabCorp regarding OP and NP specimen collection
                              for COVID-19 testing.
    Storage/Transport         Samples/specimens should be shipped frozen due to limited
    Temperature:              stability at 2°-8° C. Refrigerated swabs submitted within 72 hours
                              will be accepted.
    Unacceptable              Swabs with calcium alginate or cotton tips; swabs with wooden
    Conditions:               shafts; refrigerated samples greater than 72 hours old; room
                              temperature specimen submitted; improperly labeled; grossly
                              contaminated; broken or leaking transport device; collection with
                              substances inhibitory to PCR including heparin, hemoglobin,
                              ethanol, EDTA concentrations >0.01M.


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    Remarks:                    Submit separate frozen specimens for each test requested. Submit
                                COVID-19 test on one requisition with test code 139900.
    Stability:                  Ambient: Unacceptable; Refrigerated: 72 hours
    Turnaround Time:            Current turnaround time for COVID-19 testing is estimated
                                between 3-4 days and may be impacted by high demand.

4. Montford Testing

               ****Contact Lisa Wilson, Carrie Culpepper, or Mike Parmer****

   Fill out health screening form and await approval from TDCJ Office of Public Health to proceed.
   This test will be sent to UMC as a reference test. CORONAVIRUS COVID-19 TESTING
   (COVID19)

   Test name and code: SARS-CoV-2 (Test code: 39433) aka COVID-19
                                         **Order on UMC paper requisitions**
               Collect: Nasopharyngeal swab
                         (Use Xpert® Nasopharngeal Sample Collection Kit---in lab).
                         Ensure swab is broken off and left in liquid media.
              Specimen         Refer to Nasopharyngeal Collection Below
           Preparation:       Ensure swab is broken off and left in liquid media.
                              Place each specimen in an individually sealed bag.
     Storage/Transport Acceptable Conditions: Refrigerated (2-8° C)
          Temperature:
          Unacceptable Specimens not in viral transport media.
            Conditions:
             Remarks: Specimen source required. Submit only one specimen per patient.
              Stability: Ambient: Unacceptable ; Refrigerated: 3 days
             Remarks: Order SARS-CoV-2 RNA, RT PCR separately from other tests
                         - on a separate requisition and place each transport tube with
                         paperwork into its own sealed bag. The SARS-CoV-2 test will
                         be prioritized if
                         submitted on a shared requisition. One specimen transport tube will
                         be tested per order. **Stat Delivery**

5. Nasopharyngeal swab method
       Insert swab into one nostril
       Rotate swab over surface of posterior nasopharynx
       Withdraw swab from collection site; insert into transport tube
       After collection, wipe own outside of tube with a disinfectant wipe and doff gloves
       Perform hand hygiene and don new gloves
       Place in a biohazard bag and close
       It is not a STAT test and STAT pickup should not be ordered
       Transport specimen to the laboratory for testing. If transport will be delayed, place specimen in
         the refrigerator.




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    Anterior nares .
              . portion
    Mid-inf~nor     binate
    of inferior tur
     Posterior
     nasopharynx




                                         . t's head
                                      Pat1eld be inclined
                                      shou vertical as
                                      from for proper
                                      sho~nen
                                      spec1m recovery




                                                   VALENTINE - LINTHICUM 024
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Attachment I

                                                                                 COVID-19 LOG

 Completed forms should be emailed to the TDCJ Office of Public Health or faxed to 936-437-3572.

 Unit Name: __________________________________________

 Report for new (not cumulative) patients with COVID-19 for 24-hour period beginning 6AM _____/_____/_____ to 6AM _____/_____/_____

 Date* sent: _____/_____/_____



                                         Demographics                                                                     Lab Information
  Offender Last Name         Offender First Name  TDCJ Number                  Unit of Assignment   Name of Laboratory to which           Collection Date
                                                                                                     Specimen was Submitted
                                                                                                          (e.g., Quest)




* On Monday morning, send 3 logs (one for each 24-hour period ending at 6AM)




                                                                                                                          VALENTINE - LINTHICUM 025
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Attachment J

  1




      SEQUENCE FOR PUTTING ON
      PERSONAL PROTECTIVE EQUIPMENT (PPE)
      The type of PPEused will vary based on the level of precautions required, such as standard and contact droplet or
      airborne infection isolation precautions. The procedure for putting on and removing PPE should be tailored to the specific
      type of PPE.


      1. GOWN
       • Fully cover torso from neck to knees, arms
         to end of wrists, and wrap around the back
       • Fasten in back of neck and waist


      2. MASK OR RESPIRATOR
       • Secure ties or elastic bands at middle
         of head and neck
       • Fit flexible band to nose bridge
       • Fit snug to face and below chin
       • Fit-check respirator


      3. GOGGLES OR FACE SHIELD
       • Place over face and eyes and adjust to fit




      4. GLOVES
       • Extend to cover wrist of isolation gown




      USE SAFE WORK PRACTICESTO PROTECTVOURSELF
      AND LIMITTHE SPREAD OF CONTAMINATION
         •   Keep hands away fromlace
         •   Umitsurlacestnuche!I
         •   Change gloves wllentom or heavny c011tarninamd
         •   Perfonn harul hygiene




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Attachment K
                                                  Pandemic COVID-19 Alert Stages and Matrix

  I. Stage I – Normal conditions, no pandemic COVID-19 anywhere in the world.
      A.     Maintain clinical suspicion for COVID-19 like illnesses
      B.     Record proper diagnosis in the electronic health record for suspected COVID-19 and/or report number of cases to Preventive
             Medicine weekly to facilitate surveillance
      C.     Practice usual infection control and personal hygiene measures
      D.     Consider stockpiling critical supplies

  II. Stage II – Pandemic COVID-19 observed outside the United States.
      A.      Continue Stage 1 activities
      B.      Emphasize handwashing and cough etiquette with offenders and all unit staff
      C.      Place posters (handwashing, cough etiquette, COVID-19 symptoms) if not already done

  III. Stage III – Pandemic COVID-19 observed in the United States. Because COVID-19 spreads quickly, it is likely that only a few weeks, at
       most, would elapse between the first observation of COVID-19 in the Unites States and its appearance in the local community.
       A.      This stage is subdivided into 3a – no in-state cases reported, 3b – cases reported in Texas.
       B.      Continue Stage 2 activities
       C.      Work with security to identify areas that can be used to cohort offender cases
       D.      Screen for symptoms of COVID-19 at main gate and exclude symptomatic individuals
       E.      Screen for symptoms of COVID-19 before allowing offenders on chain buses.
       F.      Increase emphasis on cleaning/disinfecting high hand contact areas and offender transportation.
       G.      Allow staff to carry waterless hand cleaners.
       H.      Additional precautions for Stage 3b
               1.      Non-essential offender movement between units must be stopped Elective medical procedures should be postponed
               2.      Intake facilities screen arriving offenders by asking about new cough or sore throat and taking temperature
               3.      Intake facilities should consider medically restricting new intakes for 14 days before allowing them into general population.
                       The 14-day medical restriction period begins on the day the last offender is added to the medical restriction group.
               4.      Consider locking down the unit and stopping visitation.
               5.      If the warden deems it necessary to allow a person with symptoms of COVID-19 or household contacts onto the unit, the
                       following precautions are recommended:
                       a.      Each person should always be required to wear a surgical mask on the unit and wash hands before entering the unit.
                       b.      Employees restricted to jobs that do not entail contact within 6 feet of others (such as picket duty or strictly outdoor
                               work)
                       c.      Employee workstation and hand contact areas are disinfected with Double D solution or a 1:10 bleach solution at the
                               end of their shift.

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  IV. Stage IV – Initial cases of COVID-19 on the prison facility
         A. Continue actions from lower stage levels.
      B.     Unit should be locked down and visitation stopped if this has not been done previously.
      C.     Cases/suspected cases should be placed in (order of preference): 1) Respiratory isolation, if available on the unit, or in a single cell in
             cell block designated for cohorting COVID-19 cases. If single celled they should not be allowed access to the day room unless all
             offenders using the day room are suspected or confirmed COVID-19 cases. Consider using segregation or similar housing for the
             initial cases.
      D.     Cases or suspected cases must not be allowed to attend work, school, dining hall or group recreation.
      E.     Isolation should continue until 7 days after symptoms started and 72 hours after resolution of fever without the use of fever-reducing
             medications and improvement in respiratory symptoms (e.g. cough, shortness of breath).
      F.     If the offender requires transfer to a hospital, he should go by ambulance or van. Multiple offenders with COVID-19 may be
             transported in the same vehicle if necessary. Attendants and other staff in the vehicle must wear facemask. The offender should wear a
             surgical mask if his condition allows it. The transport vehicle should be disinfected after use. The receiving facility must be notified
             that the patient has COVID-19 before arrival at the facility.
      G.     Offenders in the cellblock or dormitory of the index case must be medically restricted (no housing reassignments, no work or school;
             dining and recreation as a cohort only) until 14 days have elapsed without another case of COVID-19 in the living group. If their work
             is deemed critical, they must be screened for symptoms of COVID-19 before their shift before being allowed to work.

  V. Stage V – Multiple cases of COVID-19in the facility, when the number of cases is too large to isolate individually.
        A. Continue previous stage level activities
        B. At this point individual case isolation is not practical and cases should be cohorted in living areas (dormitories or cellblocks). Cases
            need to remain in the cohort living area for 7 days after onset of their symptoms and 72 hours after resolution of fever without the use
            of fever-reducing medications and improvement in respiratory symptoms (e.g. cough, shortness of breath), but may be transferred to
            other living areas after their isolation period has passed.


                                                                                                      Offender Management
Alert Stage   Medical                 Security             Housing          Feeding/Showering       Recreation     Transportation         Work/School       Visitation
              Department
Stage 3b –     Work with security     Continue Stage      Cohort          Consider unit          Consider unit    Screen for         Consider         Screen for
pandemic        to identify housing     2 activities         essential        lockdown                lockdown          symptoms of         suspending        symptoms of
COVID-19 in     areas that can be      Train staff in       workers by       procedures              procedures        COVID-19            classes           COVID-19
Texas           used to cohort          recognition of       shift           Feed and shower        Recreation in     before allowing    Consider          and exclude
                cases                   COVID-19            Stop housing     offender in cohorts     cohorts by        offenders on        suspending        symptomatic
               Train staff on          symptoms and         reassignment     by housing area.        housing           chain bus           non-essential     individuals,
                identification of       how the              except for       Disinfect               area.            Disinfect           work              whether staff
                COVID-19 cases          medical              disciplinary     showers/dining          Disinfect         seats,             Screen            or visitors
                and early isolation     triage/cohorting     or medical       facilities between      equipment         handrails and       workers for      Stop contact
                of cases                system will          reasons, or      cohorts                 between           other contact       symptoms at       visitation
               Reinforce               work                 within same                              cohorts           areas before        turnout
                personal hygiene                             housing area                                               loading

                                                                                                                           VALENTINE - LINTHICUM 028
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                                                                                                        Offender Management
Alert Stage        Medical                  Security            Housing           Feeding/Showering   Recreation     Transportation      Work/School        Visitation
                   Department
                     and cough               Increase            (dorm or cell                                         offenders and                        Consider
                     etiquette with           emphasis on         block)                                                at end of trip                        stopping all
                     offenders                cleaning and       Prepare one                                          Stop non-                             visitation
                    Limit use of             disinfecting        or more cell                                          essential
                     medical staff on         high hand           blocks to be                                          offender
                     multiple units           contact areas       designated                                            movement
                    Cancel/reschedule        and offender        as medical                                            between units
                     elective medical         transportation      wards, if
                     procedures              Stockpile food      feasible
                    Begin COVID-19           and other
                     triage and early         essential
                     isolation process        supplies for at
                    Allow staff to carry     least a 2-4
                     and use alcohol-         week period
                     based hand              Medically
                     antiseptic rub           restrict new
                    Intake units             intakes and
                     screen offenders         offenders
                     arriving on the unit     returning from
                     by asking about          bench warrant,
                     new onset of             etc., for 14
                     cough or                 days
                     shortness of            Allow staff to
                     breath and taking        carry and use
                     their temperature        alcohol-based
                                              hand antiseptic
                                              rub
                                             Limit use of
                                              staff on
                                              multiple units
                                             Consider unit
                                              lockdown




Stage 4 –           Continue Stage          Continue Stage     Create one       Unit lockdown.     Unit           Continue          Continue          Continue
initial cases of     3b activities            3b activities       or more                               lockdown.       Stage 3b           Stage 3b           Stage 3b
COVID-19 on         Place suspected         Security staff      isolation                                             actions            actions            actions
unit                 cases in droplet         assigned to         wards, and                                           Transfer of       Medically
                     and contact              medical and         medical                                               symptomatic        restricted and
                     isolation in a           isolation areas     wards if                                              cases by           isolated
                     single cell for 7        wear                needed                                                ambulance or       offenders
                     days after               facemasks          No transfer                                           van only.          cannot work
                     symptom onset                               of exposed                                            Multiple cases    If a medically
                     and 72 hours after      Staff on            offenders                                             can be in          restricted
                     resolution of fever      affected units      into areas                                            same vehicle.      offender must
                                                                                                                           VALENTINE - LINTHICUM 029
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                                                                                               Offender Management
Alert Stage   Medical                  Security             Housing      Feeding/Showering   Recreation     Transportation     Work/School        Visitation
              Department
                without the use of      not to work on       housing                                          Notify           work because
                fever-reducing          unaffected           unexposed                                         receiving        of a critical
                medications and         units if possible    offenders                                         facility of      need, he must
                improvement in                                                                                 COVID-19         be screened
                respiratory                                                                                    case before      to rule out
                symptoms (e.g.                                                                                 arrival          symptoms of
                cough, shortness                                                                              Attendants       COVID-19
                of breath).                                                                                    with             before each
               Cases wear                                                                                     transported      shift he works.
                surgical mask                                                                                  cases must
                whenever moved                                                                                 use facemasks
                out of their
                isolation room
               Medically restrict
                contacts of the
                case until 14 days
                after the last case
                appears in the
                medically
                restricted group
               If a medically
                restricted offender
                develops signs
                and symptoms of
                COVID-19, place
                him in droplet and
                contact isolation
                and extend the
                medical restriction
                on the remaining
                offenders for 14
                more days
               Make rounds of
                isolated offenders
                in the isolation
                housing area at
                least twice per
                shift
               Make daily rounds
                on medically
                restricted housing
                areas
               Medical staff wear
                PPE when
                entering a room
                with an ill offender


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                                                                                                      Offender Management
Alert Stage       Medical               Security         Housing          Feeding/Showering        Recreation         Transportation     Work/School      Visitation
                  Department
                   Staff on affected
                    units not to work
                    on unaffected
                    units if possible
Stage 5 –          Continue Stage 4     Continue Stage  Continue        Continue Stage 4        Continue          Continue          Continue        Continue
multiple            actions               4 actions        Stage 4          actions                  Stage 4            Stage 4            Stage 4          Stage 4
COVID-19           Cohort cases and                       actions                                   actions            actions            actions          actions
cases on unit       suspected cases                                                                                                       Cases who
                   Cases may be                                                                                                           have
                    moved to any                                                                                                           completed
                    living area 7 days                                                                                                     their 7 day
                    after symptom                                                                                                          isolation and
                    onset and 72                                                                                                           72 hours after
                    hours after                                                                                                            resolution of
                    resolution of fever                                                                                                    fever and
                    without the use of                                                                                                     improvement
                    fever-reducing                                                                                                         in respiratory
                    medications and                                                                                                        may work
                    improvement in                                                                                                         without
                    respiratory                                                                                                            restriction if
                    symptoms (e.g.                                                                                                         their
                    cough, shortness                                                                                                       symptoms
                    of breath). They                                                                                                       have resolved
                    can be considered
                    immune for the
                    remainder of the
                    pandemic
Termination of COVID-19 alert: May return to Stage 4 when there are no new cases on the unit in 7 days, or to stage 3b when there have been no new cases on the unit for
an additional 7 days




                                                                                                                           VALENTINE - LINTHICUM 031
